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Attomeys for Plaintiff Barbara A. Spencer

IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT

OF THE STATE OF IDAHO, COUNTY OF ADA

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BARBARA A. SPENCER, Case No.

 

Plaintiff,
SUMMONS

V.

CAPITAL ONE BANK, CAPITAL ONE
SERVICES, INC., and STONEBRIDGE
BENEFIT SERVICES, INC.,

Defendants.

 

 

NOTICE: YOU HAVE BEEN SUED BY THE ABOVE- NAMED PLAINTIFF. THE
COURT MAY ENTER JUDGMENT AGAINST YOU WITHOUT FURTHER NOTICE
UNLESS YOU RESPOND WITHIN 20 DAYS. READ THE INFORMATION BELOW.

TO= STONEBRIDGE BENEFIT SERVICES, INC.
c/o CT CoRPORATloN SYSTEM \
300 N. 6"‘ sTREET /.. /
BOISE, IDAHO 83702

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You are hereby notified that in order to defend this lawsuit, an appropriate written
response must be filed with the above-designated court Within twenty (20) days after service of
this Summons on you. lf you fail to respond, the court may enterjudgment against you as
demanded by the Plaintiffin the Complaint

A copy ofthe Complaint is served With this Summons. If you Wish to seek the advice or
representation by an attorney in this matter, you should do so promptly so that your Written
response, ifany, may be filed in time and other legal rights are protectedl

An appropriate Written response requires compliance With Rule lO(a)(l) and other Idaho
Rules ofCivil Procedure and shall also include:

l. The title and number ofthis case.

2. lf your response in an Answer to the Complaint, it must contain admissions or
denials ofthe separate allegations ofthe Complaint and other defenses you may
claim.

3. Your signature, mailing address and telephone number, Q_r the signature, mailing
address and telephone number of your attomey; and

4. Proof of mailing or delivery ofa copy of your response to Plaintiff”s attorney, as
designated above.

To determine Whether you must pay a filing fee with your response, contact the Clerk of

the above-named court

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DATED THis 29 day OrMar<;h, 2007.

J. DAVID NAVARRO
Clerl< ofthe District Court

 

 

 

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llN THE DISTRICT COURT OlF THE FOURTH JUDICIAL DISTRICT

OF THE STATE OF IDAHO, COUNTY OF ADA

BARBARA A. SPENCER,
Plaintiff,

V.

CAPITAL ONE BANK, CAPITAL ONE
SERVICES, INC., and STONEBRIDGE
BENEFIT SERVICES, l`NC.,

Defendants.

 

 

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Case No.

 

CoMPLAINT AND DEMANH) FoR
JURY TRrAL PURSUANT To
I.R.C.P. ss(b)

Fee Category: A-l
Filing Fee: $88.00

Plaintiff Barbara A. Spencer, for her complaint, hereby alleges the following claims and

causes of action against Defendants Capital One Bank, Capital One Services, lnc. and

Stonebridge Benef'it Services, Inc. (hereinafter collectively referred to as “Defendants”).

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - l

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ll. NATURE OF ACTI®N

This action arises out of Defendants’ wrongful denial of Plaintist claim for death

benefits under Defendants7 Payment Protection insurance plan.
lll. PARTIES

l. PlaintiffBarbara A. Spencer (“Spencer”) is a resident of Ada County, ldaho.

2. Defendants Capital One Bank, Capital One Services, lnc. (collectively “Capital
One”) are, on information and belief, Delaware or Virginia corporations with their principal
place of business in Virginia.

3. Defendant Stonebridge Benefit Services, lnc., (“Stonebridge”) is a Delaware
corporation with its principal place of business in Plano, TeXas. At all times relevant hereto,
Defendant Stonebridge, along with Capital One, transacted the business of insurance in the State
of ldaho.

III. JURISDICTION OF VENUE

4. This Court has jurisdiction as the amount in controversy exceeds the jurisdictional
minimum requirements of this Court.

5. Venue is properly conferred on this Court pursuant to Idaho Code § 5-404.

IV. GENERAL ALLEGATIONS
6. Defendants sent unsolicited advertisements to Spencer’S home encouraging her to

apply for a Capital One Platinum Master Card (“Card”) from Capital C)ne and to transfer any

balances on other credit cards to Capital One.

7. Spencer applied for the Card and in or around February 2004 received a Card in

her name and a second Card in her now deceased husband’s name, Eldon J. Spencer. Both Cards

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT T() I.R.C.P. 38(b) - Z

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had the same account number ending with 1973. At that time, Spencer transferred a balance of
approximately $6,735 to Capital One.

8. ln April 2004, Spencer enrolled in Capital One’s Payment Protection Plan and
began paying premiums based on a percentage of her account balance Those premiums ranged
from $59.00 to $84.63 per month. The premiums were calculated at $.89 per $lOO of her
account balance.

9. Based on written materials provided by Defendants and communications with
Capital One, Spencer was told that the coverage under the Payrnent Protection Plan would pay
off any balance up to $10,000 in the event ofthe death of Spencer or her husband One of the
written communications Spencer received states:

This program pays the minimum monthly payment you owe on the
eligible balance if you or your secondary cardholder becomes
involuntarily unemployed or is unable to work due to temporary
disability. lt also pays the entire balance, up to $10,000, in the

event of death or permanent total disability of you or your
secondary cardholder.

lO. In conversations with Capital One, Spencer was assured that death benefits would
be provided in the event of the death of her husband because he was a secondary cardholder.
l l. On or about February 2006 Spencer received replacement cards. Again, a card

was provided for Spencer’s husband, Eldon Spencer, with the same account number as Spencer’s

card

12. ln July 2006, because of Eldon Spencer’s ill health, Annette Spencer, daughter of
Spencer, called Capital One to once again verify that Eldon Spencer was covered under the

Payment Protection Plan. Ms. Spencer was informed that Eldon Spencer was, indeed, covered as

a secondary cardholder.

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - 3

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l3. On December 4, 2006, Eldon Spencer died

l4. On December 13, 2006, per Capital One’s instructions, Spencer faxed notification
to Stonebridge ofthe death of Eldon Spencer and filed a claim for benefits under the Payment
Protection Plan.

15. Defendants denied Spencer’s claim for death benefits under the Payment
Protection Plan. Stonebridge told Spencer’s son that benefits were denied because Capital One
instructed Stonebridge to deny benefits on the grounds that Eldon Spencer was not a secondary
cardholder.

16. Defendants failed to provide a written denial of coverage explaining the basis for

the denial

17. On or before February 3, 2007, Spencer cancelled the Payment Protection Policy

after being denied benefits

18. Since that time, Defendants have refused to pay off the balance as required under
the Payment Protection Plan and have multiplied the interest on the balance

l9. Capital One, on information and belief, wrongfully placed Spencer’s account in
default, which this default has been reported to various credit reporting agencies

20. Capital One has also wrongfully turned Spencer’s account over to collections
The debt collectors have constantly harassed Spencer and have been extremely abusive to her.
This abuse has continued despite the fact that Spencer has informed the debt collectors that she

has hired an attorney and that they need to talk to her attorney This intentional abuse has been

outrageous, and has caused Spencer severe emotional distress

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - 4

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21. Spencer has performed her obligations under the Payment Protection Plan and
made the monthly premium payments beginning from l\/farch 2004 through the cancellation of
the Payment Protection Plan in February 2007,

22. On information and belief, Defendants and their debt collectors acted as agents of
one another in dealing with Spencer concerning the Payment Protection Plan and her Capital One
account.

COUNT ll
DECLARATO]RY RELIEF

23. The allegations included in paragraphs l through 22 above are incorporated by
reference and made a part hereof.

24. There is an actual and justifiable controversy concerning Spencer’s rights under
the Payment Protection Plan.

25. Spencer is entitled to ajudgment declaring that:

a. Eldon Spencer was a secondary cardholder;

b. Under the terms of the Payment Protection Plan, Spencer is entitled to
death benefits as a result ofthe death of Eldon Spencer;

c. Defendants breached the Payment Protection Plan by failing to pay off

Spencer’s Capital One account;

d Defendants duty of coverage is not fairly debatable;
e. Spencer’s Capital One Account should not have been placed in default;
f. Defendants breached the covenant of good faith and fair dealing by

nullifying and significantly impairing Spencer’s benefits and rights under

the Payment Protection Plan;

COMPLAINT AND DEMANI) FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - 5

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Defendants misrepresented the insurance coverage provided to Spencer;

tro

h. Defendants failed to provide policy benefits in accordance with the terms
and conditions ofthe policy;

i. Defendants failed to provide benefits in accordance with point-of-sale
representations made to Spencer;

j. Defendants failed to honestly advise Spencer ofher rights under the terms
and conditions of her policy ofinsurance;

l<. Defendants refused to pay claims without conducting a reasonable
investigation based upon all available information; and

l. Defendants failed to attempt in good faith to effectuate a prompt, fair and
equitable settlement ofthe claim.

COUNT II
BREACH OF CONTRACT

26. The allegations included in paragraphs l through 25 above are incorporated by
reference and made a part hereof.

27. At all pertinent times, a contract existed between Spencer and Defendants in the
form of the Payment Protection Plan, Said contract included the point-of-sale representations
made by Defendants to induce Spencer to enroll in the Payment Protection Plan.

28. Defendants have breached the Payment Protection Plan by intentionally refusing
benefits to Spencer upon the death of her husband

29. The above-described breaches of contract are not exhaustive Spencer, on

information and belief, alleges that there may be other breaches of contract by Defendants

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT TO l.R.C.P. 38(b) - 6

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30. As a direct, proximate and foreseeable result ofDefendants ‘breaches of contract,
Spencer has suffered damages in excess ofthejuiisdictional minimum ofthis Court. These
damages include, but are not limited to, the value ofthe benefits Spencer was entitled to under
the Payment Protection Plan. Spencer will establish the precise amount of damages, including,
but not limited to, her attomeys’ fees, according to proof at trial.

COUNT lll

BREACH OF THE COVENANT ®lF <GOOD FAl'l`H AND ll<`AllR DEALI[NG

31. The allegations included in paragraphs l through 30 above are incorporated by
reference and made a part hereofl

32. Contained within the Parties contract, by force of law, was an implied covenant of
good faith and fair dealing

33. The acts and omissions of Defendants in denying coverage, as described above,
violated, nullified and significantly impaired Spencer’s benefits and rights under the Payment
Protection Plan, thereby breaching the implied covenant of good faith and fair dealing

34. The above-described breaches of the implied covenant of good faith and fair
dealing are not exhaustive Spencer, on information and belief, alleges that there may be other

breaches of the covenant of good faith and fair dealing by Defendants

35. As a direct, proximate and foreseeable result of Defendants’ breaches ofthe
implied covenant of good faith and fair dealing, Spencer has suffered damages in excess ofthe
jurisdictional minimum ofthis Couit, as previously described Spencer Will establish the precise

amount of damages, including, but not limited to, its attorneys’ fees, according to proof at trial.

COMPLAlNT AND DEMAND FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - 7

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COUNT lV
BAD lFAl"fH
36. The allegations included in paragraphs l through 35 above are incorporated by
reference and made a part hereof
37. Defendants and Spencer were in an insurer/adjuster/insured relationship As such,
Defendants had a duty to act in good faith in their dealings with Spencer in handling her claim
for benefits Defendants breached their duty of good faith by intentionally, wantonly,

unreasonably, and in bad faith denying Spencer’s covered claim.

38. Defendants’ wrongful denial of Spencer’s claim was not a result ofa good faith
mistake, and the resulting harm to Spencer is not fully compensable by contract damages

39. Defendants acted in bad faith, and intentionally and unreasonably in their dealings
with Spencer, and placed their interests ahead of Spencer’s by failing to provide policy benefits
in accordance with the terms and conditions of the Payment Protection Plan.

40. The Defendants acted in bad faith in their dealings with Spencer by including but
not limited to, the following acts and omissions all of which were intentional and unreasonable:
(l) misrepresenting the insurance coverage provided to Spencer; (2) failing to provide policy
benefits in accordance with the terms and conditions of the policy; (3) failing to provide benefits
in accordance with point-of-sale representations made to Spencer; (4) failing to honestly advise
Spencer of her rights under the terms and conditions of her policy of insurance‘, (5) refusing to
pay claims without conducting a reasonable investigation based upon all available information;
(6) not attempting in good faith to effectuate prompt, fair and equitable settlement ofthe claim;

and (7) compelling Spencer to institute litigation to recover amounts due under the Payment

Protection Plan.

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT T() I.R.C.P. 38(b) - 8

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4l. The above-described bad faith acts are in direct breach of Defendants’ common-
law duty to act in good faith with respect to their insured and are riot exhaustive Spencer, on
information and belief, alleges that there may be other instances ofintentional bad faith by
Defendants

42. As a direct and proximate result of Defendants’ bad faith acts, Spencer has
suffered damages in excess ofthejurisdictional minimum ofthis Court. Those damages include,
but are not limited to, the value of the benefits Spencer was and is entitled to, damage to
Spencer’s credit rating and severe emotional distress Spencer will establish the precise amount
of damages including, but not limited to7 her attorneys’ fees, according to proof at trial.

COUNT V
NEGLIGENCE

43. The allegations included in paragraphs l through 42 above are incorporated by
reference and made a part hereof.

44. Defendants owed Spencer a duty to act with reasonable care in their dealings With
Spencer.

45. Defendants breached that duty by unreasonably denying coverage, by failing to

pay covered losses, and by delaying payment of covered losses

46. The above-described acts of negligence are in direct breach of Defendants’
common law duty to exercise reasonable care in dealing with Spencer. The above-described acts

of negligence are not exhaustive Spencer, on information and belief, alleges that there may be

other acts of negligence by Defendants

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - 9

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47. As a direct and proximate result of Defendants’ negligence, Spencer has suffered
damages in excess ofthejurisdictional minimum ofthis Court. Spencer will establish the precise
amount of damages including, but not limited to, her attomeys’ fees according to proof, at trial.

COUNT Vll
FRAUD
48. The allegations included in paragraphs l through 47 above are incorporated by

reference and made a part hereof.

49. Defendants represented to Spencer that she would receive death benefits in the

event of her husband’s death because her husband was a secondary card holder.

50. Defendants have now taken the position that Spencer’s husband was not a

secondary cardholder and that Spencer is not entitled to death benefits

_51. lf Spencer’s husband was not a secondary card holder and if she is not entitled to
death benefits Defendants made the above-referenced representations with the intent that
Spencer rely on said representations all the while knowing that said representations Were false or

with reckless indifference to the truth of the representations

52. Spencer, in fact, reasonably andjustifiably relied upon Defendants’
representations
53. The foregoing representations were material to Spencer’s decision to purchase the

Payment Protection Plan and to continue with the Plan.

54. As a direct, consequent, and proximate result of the above-mentioned fraud, the
Spencer has suffered damages in an amount to be proven at the time oftrial, but which the

Spencer believes exceeds the jurisdictional minimum requirements ofthe Court.

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - l0

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COUNT Vll
CONSTRU<C"l`lX/'E lFRAlUD

55. The allegations included in paragraphs l through 54 above are incorporated by
reference and made a part hereof.

56. There existed a fiduciary relationship or a fiduciary-like relationship between
Spencer and Defendants as a result ofthe parties’ insured/insurer/adjuster relationship This
relationship imposed a duty and obligation upon the Defendants to be truthful, when stating
matters of fact or opinion, and imposed a duty upon Defendants to disclose all relevant and
material information, that in any way affected and/or may have affected their insured Based

upon said relationship, Plaintiff had a right to rely upon Defendants’ affirmative representations

and omissions

57. Defendants failed to inform Spencer that she was not entitled to death benefits
under the Payment Protection Plan in the event of the death of her husband
58. Spencer was ignorant of the above-referenced material nondisclosures by

Defendants and had no way of knowing about said nondisclosures

59, As a direct, consequent and proximate result of the above-mentioned constructive
fraud, Spencer has suffered damages in an amount to be proven at the time of trial, but which
amount Spencer believes exceeds the jurisdictional minimum requirements of this Court.

COUNT VIII
INTENTIONAL INFLICTION OF EM()TIONAL DISTRESS

60. The allegations included in paragraphs l through 59 above are incorporated by

reference and made a part hereof.

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - l l

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6l. At all times material hereto, the Defendants’ conduct was extreme and outrageous
by doing and failing to do the things required under the terms ofthe Payment Protection Plan as
represented to Spencer, all of which the Defendants knew would inflict severe emotional distress
on Spencer because ofthe financial stress caused by failure to provide benefits in accordance
with the parties’ contract

62. At all times material hereto, the Defendants’ conduct was extreme and outrageous
by wrongfully attempting to collect a debt that should have been relieved under the Payment
Protection Plan, placing the account in default and reporting the default to credit reporting
agencies and by using abusive tactics to collect a debt that should have been relieved under the

Payment Protection Plan.

63. Defendants knew or should have known that such conduct would inflict severe
emotional distress on Spencer

64. The Defendants’ conduct was extreme and outrageous and did, in fact, result in
Spencer suffering severe emotional distress

65. As a direct, consequent, and proximate result of said extreme and outrageous
conduct, Spencer has suffered damages in an amount to be proven at the time oftrial, but which
amount Spencer believes exceeds the jurisdictional minimum requirements of this Court.

COUNT IX
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

66. The allegations included in paragraphs l through 65 above are incorporated by
reference and made a part hereof j

67. At all material times Defendants negligently failed to meet the requirements

imposed by the terms of the Payment Protection Plan causing Spencer severe financial distress

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - 12

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Defendants’ negligence caused Spencer to suffer severe emotional distress which was
accompanied by physical injury and a physical manifestation of said injury.

68. At all material times Defendants caused Spencer to suffer emotional distress by
negligently failing to provide the benefits owed to Spencer under the Payment Protection Plan,
placing the account in default, reporting the default to credit reporting agencies and by using
abusive tactics to collect a debt that should have been relieved under the Payment Protection
Plan. Spencer’s severe emotional distress was accompanied by physical injury and a physical

manifestation of said injury.

69. As a direct, consequent, and proximate result of said negligent conduct, Spencer
has suffered damages in an amount to be proven at the time of trial, but which amount Spencer
believes exceeds the jurisdictional minimum requirements of this Court.

COUNT X
INTENTIONAL INTERFERENCE WITH CONTRACT

70. The allegations included in paragraphs l through 69 above are incorporated by
reference and made a part hereof.

7l. ln the alternative, if Capital One did not act as Stonebridge’s agent in its dealings
with Spencer concerning the Payment Protection Plan, Capital One wrongfully and intentionally
interfered with Spencer’s insurance contract with Stonebridge by instructing Stonebridge not to

pay Spencer’s claim for benefits

72. Capital One was aware that Spencer had a contractual relationship with

Stonebridge, and intentionally interfered with the same

73. Capital One’s interference was wrongful in that Capital One had an improper

purpose or objective to harm Spencer and utilized improper means to cause such harm.

COMPLAINT AND DEMAND F()R JURY TR]AL PURSUANT TO I.R.C.P. 38(b) - 13

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74. As a direct, consequent, and proximate result of said conduct, Spencer has
suffered damages in an amount to be proven at the time of trial, but which amount Spencer
believes exceeds thejurisdictional minimum requirements ofthis Court.

PUNllflVlE DAMAGlES

75. The Defendants by their conduct, have engaged in extreme deviations from
reasonable standards of conduct in the insurance industry, and have engaged in gross wanton7
outrageous fraudulent, oppressive and unconscionable conduct; wherefore, Spencer reserves the
right to seek leave of court to amend this Complaint to plead for the recovery of punitive
damages against Defendants in such amounts as will be proven at trial.

ATTORNEY FEES

Spencer has been required to obtain the assistance of counsel to assist in the prosecution
of this matter, and have retained the services of Greener Banducci Shoemaker, P.A,, and has
agreed to pay said attorneys a reasonable fee Spencer is entitled to recover her reasonable costs
and attorneys fees incurred inqthe prosecution of this matter pursuant to ldaho Code §§ l2-120,
12-l21 and 41-1839, or other applicable law.

DEMAND FOR JURY TRIAL

Spencer hereby demands a trial byjury as to all issues

PRAYER FOR RELIEF

WHEREFORE, Spencer prays for the entry of an order:

l. Declaring that Eldon Spencer was a secondary cardholder;

2. Declaring that under the terms ofthe Payment Protection Plan, Spencer is entitled

to death benefits as a result ofthe death of Eldon Spencer;

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - 14

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lO.

ll.

Declaring that Defendants breached the Payment Protection Plan by failing to
pay off Spencer’s Capital One account;

Declaring that Defendants duty ofcoverage is not fairly debatable;

Declaring that Spencer’s Capital One Account should not have been placed in
default;

Declaring that Defendants breached the covenant of good faith and fair dealing
by nullifying and significantly impairing Spencer’s benefits and rights under the
Payment Protection Plan;

Declaring that Defendants misrepresented the insurance coverage provided to
Spencer;

Declaring that Defendants failed to provide policy benefits in accordance with
the terms and conditions ofthe policy;

Declaring that Defendants failed to provide benefits in accordance with point-of-
sale representations made to Spencer;

Declaring that Defendants failed to honestly advise Spencer of her rights under
the terms and conditions of her policy of insurance;

Declaring that Defendants refused to pay claims without conducting a reasonable
investigation based upon all available information;

Declaring that Defendants failed to attempt in good faith to effectuate prompt,
fair and equitable settlement ofthe claim;

Awarding Spencer damages in an amount proven at trial;

Awarding Spencer her reasonable attorneys’ fees and costs pursuant to Rule 54,

ldaho Code §§ 12-120, 12-l2l and 41-1839 or other applicable law; and

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - 15

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l5. For such other further relief, at law and in equity, as the Court deemsjust and

properl

oArEn this 254 day er wei/g ,2007.

GREENER BANDUCCI SHOEMAKER, P.A.

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'!Wade L. Woodard
Attorney for Plaintiff

COMPLAINT AND DEMAND FOR JURY TRIAL PURSUANT TO I.R.C.P. 38(b) - l6

